Dear Auditor Schweich:
This office received your letter of February 25, 2011, submitting a fiscal note and fiscal note summary prepared under § 116.175, RSMo, for an initiative petition submitted by James B. Deutsch (version 2). The fiscal note summary that you submitted is as follows:
  Local governmental entities estimated savings from this proposal of at least $7.8 million, but the total potential savings is unknown. It is estimated the proposal would have no cost or savings to state governmental entities.
Under § 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
                                        Very yours,
                                        _________________________ CHRIS KOSTER Attorney General *Page 1 